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                                                                  FILED: February 7, 2025

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                            No. 24-2214
                                       (1:23-cv-02699-RDB)
                                      ___________________

        STUDENTS FOR FAIR ADMISSIONS, INC.

                     Plaintiff - Appellant

        v.

        THE UNITED STATES NAVAL ACADEMY; THE UNITED STATES
        DEPARTMENT OF DEFENSE; LLOYD AUSTIN, in his official capacity as
        Secretary of Defense; CARLOS DEL TORO, in his official capacity as Secretary
        of the Navy; BRUCE LATTA, in his official capacity as Dean of Admissions for
        the United States Naval Academy; REAR ADMIRAL FRED KACHER, in his
        official capacity as Acting Superintendent of the United States Naval Academy

                     Defendants - Appellees

                                      ___________________

                                           ORDER
                                      ___________________

              The court grants an extension of the briefing schedule. Any further request

        for an extension of time in which to file the opening brief and joint appendix shall

        be disfavored. The briefing schedule is extended as follows:

              Joint appendix due: 03/06/2025

              Opening brief due: 03/06/2025
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              Response brief due: 04/07/2025

              Any reply brief: 21 days from service of response brief.

                                               For the Court--By Direction

                                               /s/ Nwamaka Anowi, Clerk
